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 8

 9                      UNITED STATES DISTRICT COURT
10              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11

12   AYNUR BAGHIRZADE, an individual,              Case No. 3:24-cv-1077 RSH MMP
13                    Plaintiff,             MEMORANDUM OF POINTS AND
                                             AUTHORITIES IN SUPPORT OF
14   v.                                      DEFENDANTS ARMENIAN
                                             NATIONAL COMMITTEE OF
15   ARMENIAN NATIONAL COMMITTEE AMERICA, ARAM HAMPARIAN
     OF AMERICA, a Non-Profit                AND ARMENIAN NATIONAL
16   Corporation; ARAM HAMPARIAN, an COMMITTEE OF AMERICA
     individual; ARMENIAN NATIONAL           WESTERN REGION’S SPECIAL
17   COMMITTEE OF AMERICA                    MOTION TO STRIKE PLAINTIFF’S
     WESTERN REGION, a California            CAUSES OF ACTION
18   Nonprofit Public Benefit Corporation;
     ARMEN SAHAKYAN, an individual;
19   YELP Inc., a Delaware Stock             PER CHAMBERS RULES, NO
     Corporation; JEREMY STOPPELMAN, ORAL ARGUMENT UNLESS
20   an individual; GOOGLE LLC, a            SEPARATELY ORDERED BY THE
     Delaware Limited Liability Company;     COURT
21   ALPHABET Inc., a Delaware Stock
     Corporation; ORANGE COUNTY BAR
22   ASSOCIATION; a California Nonprofit Date:           October 24, 2024
     Mutual Benefit Corporation; TRUDY       Judge:      Hon. Robert S. Huie
23   LEVINDOFSKE, an individual; TERESA
     VUKI, an individual; LOS ANGELES
24   COUNTY BAR ASSOCIATION, a
     California Nonprofit Mutual Benefit
25   Corporation; SETH CHAVEZ, an
     individual; COCO SU, an individual;
26   ATTORNEY SEARCH NETWORK, a              Magistrate: Hon. Michelle M. Pettit
     California Stock Corporation; JAKE
27   BALOIAN, an individual; Nolo, a
     California Stock Corporation; MH SUB I,
28   LLC, a Delaware Limited Liability
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 1   Company; LEGALMATCH
     CALIFORNIA, a Nevada Domestic
 2   Corporation; ESTRELLA SANCHEZ, an
     individual; DOES 1 THROUGH 300,
 3   inclusive,
 4                   Defendants.
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 1   I.    INTRODUCTION
 2         Plaintiff Aynur Baghirzade (“Plaintiff”) filed this action on June 21, 2024,
 3   and filed a First Amended Complaint (“FAC”) on August 15, 2024, based on
 4   multiple conspiracies ranging from the dispute between Armenia and Azerbaijan,
 5   twitter disputes, Yelp reviews, attorney referral services, and countless others.
 6         Plaintiff’s tenth cause of action is for defamation against Armenian National
 7   Committee of America and Armenian National Committee of America Western
 8   Region (collectively “Moving Defendants”). However, Plaintiff fails to specifically
 9   state which alleged statement is the basis for her defamation claim, fails to state
10   facts regarding the statements alleged falsity, and also seeks to hold Moving
11   Defendants liable for speech protected by the California Anti-SLAPP statute and the
12   First Amendment. Because Plaintiff’s claims arise from protected activity, and
13   because Plaintiff fails to plausibly allege these claims – let alone show a probability
14   of success on the merits – Moving Defendants respectfully request that the Court
15   strike Plaintiff’s state-law claim for defamation.
16         In support of her defamation claim, Plaintiff relies on “facts” asserting that
17   Moving Defendants made statements on their Instagram, allegedly manipulating one
18   of her tweets to make it seem as though she is calling for the genocide of the
19   Armenians. (FAC, ¶ 233.) Plaintiff did not provide the exact statement, the exact
20   date of the tweet or Instagram post, or who even posted the statement.
21   II.   LEGAL ARGUMENT
22         A.      Anti-SLAPP Statute, Code of Civil Procedure Section 425.16.
23         California’s broad anti-SLAPP statute provides a method for courts to quickly
24   dispose of meritless claims that target the exercise of free-speech rights. Code Civ.
25   Proc., § 425.16(a); Braun v. Chron. Publ’g Co., 52 Cal.App.4th 1036, 1042 (1997).
26   Under the statute, any “cause of action against a person arising from any act … in
27   furtherance of a person’s right of … free speech … in connection with a public issue
28   shall be subject to a special motion to strike, unless the court determines that the
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 1   plaintiff has established that there is a probability that the plaintiff will prevail on
 2   the claim.” Code Civ. Proc., § 425.16(b)(1). To evoke the anti- SLAPP statute, the
 3   moving party first must show the plaintiff’s claims arise from protected speech
 4   under the statute. Sarver v. Chartier, 813 F.3d 891, 901 (9th Cir. 2016). Once the
 5   defendant makes such a showing, a court must look to the merits of the plaintiff’s
 6   claims. Id.
 7         Federal courts may consider arguments made pursuant to the anti-SLAPP
 8   statute at the motion to dismiss stage. See Planned Parenthood Fed’n of Am., Inc. v.
 9   Ctr. for Med. Progress, 890 F.3d 828, 834 (9th Cir. 2018), cert. denied, 139 S. Ct.
10   1446 (2019).When, as here, “an anti-SLAPP motion to strike challenges only the
11   legal sufficiency of a claim, a district court should apply the Federal Rules of Civil
12   Procedure, rule 12(b)(6) standard and consider whether a claim is properly stated.”
13   Id. at 834. Accordingly, to survive an anti-SLAPP motion challenging the
14   complaint’s legal sufficiency, a plaintiff must allege sufficient facts to raise a right
15   to relief above the speculative level—that is, a claim to relief that is plausible on its
16   face. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007). If the plaintiff fails
17   to satisfy the pleading standards under Rule 12(b)(6), the Court must strike the claim
18   and award the movant its attorneys’ fees. Planned Parenthood, 890 F.3d at 834;
19   Code Civ. Proc., §§ 425.16(b)(1), (b)(2), (c)(1).
20         B.      Plaintiff’s Defamation Claim Arises From Conduct Protected
                   Under Section 425.16.
21

22         Plaintiff’s claims under state law fall easily within the scope of the SLAPP
23   statute because the claims against Moving Defendants arise from alleged posting on
24   issues regarding public interests and activities. Section 425.16(e)(4) extends the
25   statute to “any other conduct in furtherance of the exercise of … the constitutional
26   right of free speech in connection with a public issue or an issue of public interest.”
27   Code Civ. Proc., § 425.16(e)(4). California courts have held that “ ‘an issue of
28   public interest’ ... is any issue in which the public is interested. In other words, the
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 1   issue need not be ‘significant’ to be protected by the anti-SLAPP statute—it is
 2   enough that it is one in which the public takes an interest.” Tamkin v. CBS
 3   Broadcasting, Inc., 193 Cal.App.4th 133, 144 (2011). “So long as the conduct at
 4   issue is connected to the public interest in some way, anti-SLAPP protection
 5   applies.” Sarver, 2011 WL 11574477 at *4 (N.D. Cal. Oct. 13, 2011).
 6         Here, although Plaintiff’s defamation is vague and ambiguous as to what
 7   exactly the alleged defamatory statement is, it appears to be centered around a long-
 8   standing conflict between Azerbaijan and Armenia. This conflict is on the world
 9   stage and falls squarely within any meaning of a “public interest.” This is shown by
10   Plaintiff’s own admissions as she details the attention her own posts have received.
11         While the issue of whether someone’s own post can be considered as a
12   defamatory statement against the one who made the most seems counterintuitive, the
13   subject matter of the post still falls within the statutory framework of section 425.16
14   and is therefore protected speech.
15         C.      Plaintiff Cannot Show A Probability Of Success On Her
                   Defamation Claim.
16

17         Because the anti-SLAPP statute applies to Plaintiff’s defamation claim
18   against Moving Defendants, the burden shifts to Plaintiff to establish a probability
19   that she will prevail. Code Civ. Proc., § 425.16(b)(1). Plaintiff must show that her
20   claims are facially plausible. See Planned Parenthood, 890 F.3d at 834; Barry v.
21   State Bar of Cal., 2 Cal.5th 318, 325-26 (2017) (court may dismiss a complaint (or
22   portions of it) if the plaintiff has no probability of prevailing). Plaintiff cannot meet
23   this burden under the anti-SLAPP statute.
24         "The elements of a defamation claim are (1) a publication that is (2) false,
25   (3) defamatory, (4) unprivileged, and (5) has a natural tendency to injure or causes
26   special damage." Wong v. Jing, 189 Cal.App.4th 1354, 1369 (2010). An essential
27   element of defamation is that the publication be of a false statement of fact rather
28   than opinion. “A statement of opinion which presents the facts upon which it is
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 1   based does not imply a false assertion of fact, and it is therefore entitled to
 2   protection.” Global Plasma Solutions, Inc. v. IEE Environmental Engineering, 600
 3   F.Supp.3d 1082, 1097 (N.D. Cal. 2021).
 4          Case law requires that statements alleged to constitute libel “must be
 5   specifically identified, if not pleaded verbatim, in the complaint.” Gilbert v. Sykes,
 6   147 Cal.App.4th 13, 31 (2007).
 7          Here, Plaintiff fails to state the statement which she believes was defamatory.
 8   The only mention of the statement in her defamation claim states that
 9   “DEFENDANTS ANCA and ANCAWR for about two months (January - February,
10   2024) made multiple false statements in their Instagram and other accounts as well
11   as through their agents about the PLAINTIFF that she called for the genocide of the
12   Armenians in one of her tweets.” (FAC, ¶ 233.) Plaintiff does not state what her
13   tweet said, or what the Instagram post of her tweet said so Moving Defendants, as
14   well as the Court, has no way of analyzing this claim.
15          However, even if Plaintiff did state what the alleged defamatory statement
16   was, it is clear that any comment or post made about Plaintiff’s tweet was based on
17   opinion and therefore not actionable as a defamatory statement.
18   III.   CONCLUSION
19          Moving Defendants respectfully request that this Court strike Plaintiff’s state
20   law claim for defamation, with prejudice. Additionally, Moving Defendants request
21   that the Court award them their mandatory fees and costs incurred in connection
22   with this Motion, in an amount to be determined by future motion.
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24   ///
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 1         As set forth in the concurrently filed Motion to Dismiss, Moving Defendants
 2   alternately request that the Court dismiss Plaintiff’s FAC with prejudice pursuant to
 3   Rule 12(b)(6).
 4

 5   Dated: September 19, 2024               SCHWARTZ SEMERDJIAN CAULEY SCHENA
                                             & BUSH LLP
 6
                                             By: /s/ Dick A. Semerdjian
 7                                               Dick A. Semerdjian
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 8                                               Attorneys for Defendants
                                                 ARMENIAN NATIONAL
 9                                               COMMITTEE OF AMERICA, ARAM
                                                 HAMPARIAN and ARMENIAN
10                                               NATIONAL COMMITTEE OF
                                                 AMERICA WESTERN REGION
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